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Alex Kosovskiy
44 Avonwood Road
Unit 203
Avon CT 06001

Hon. Jill Mazer-Marino
U.S Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East – Suite 1595
Brooklyn, NY 11201-1800

Dear Judge,

I am a resident of the Avon Place Complex, where I have lived for the past 25 years. The complex includes both
individually owned condominium units and those owned by a real estate development firm. In 2022, Ahron
Rudich, of Avon Place LLC, acquired a majority stake in the property. Since then, I and other individual unit
owners have faced persistent intimidation and harassment intended to pressure us into selling our units to Avon
Place LLC.

In one particularly disturbing phone conversation, Mr. Rudich told me that my children would "live on the street" if
I did not agree to sell my unit under his terms. These threats have created fear and anxiety for my family and
me.

In 2023 I was denied access to the community clubhouse when I attempted to host my daughter’s 10th birthday
party. Mr. Rudich’s employee, Bret Hurst, physically padlocked the door to prevent my family and guests from
entering, an act that was both unnecessary and cruel.

To make matters worse, in December of 2024, my second-floor apartment was severely flooded due to water
damage originating from the unit directly above mine, which is owned by Avon Place LLC. Despite multiple
requests, I have not received any insurance information from them. The damage has left my home in a
compromised state, and I have been forced to pursue legal action in an effort to hold them accountable.

These events represent a pattern of hostility, neglect, and bad-faith dealings by Avon Place LLC and its
representatives. I am bringing this to the Court's attention in the hope that appropriate legal remedies will be
considered to protect myself and other affected residents.

I am also including a notice of violations/citations issued by Farmington Valley Health Department to Avon Place
in 2023 and 2024 .

Thank you for your time and consideration.
Sincerely,
Alex Kosovskiy
426mechanic@gmail.com
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                                    Avon Place
                                  Avonwood Rd
                          Summary of NOVs and Complaints


NOTICE OF VIOLATIONS

9/24/2024    Building 48: mold growth in several locations in basement, active leak 3 rd
             floor hallway, Unit 215 visible water damage, extensive trash outside of
             dumpsters
8/21/2024    Pool being used after failing all attempts to pass inspection for opening
             Poor water clarity, chlorine levels too low, pool gates not operating
             properly, emergency phone not functioning, chemical logs not present, no
             qualified pool operator on site. Closure signs had been removed.
11/3/2023    Failure to provide Hot Water
7/25/2023    Building 44: 3rd floor water damage, leaking pipes, basement water on
             floor and walls, moldy sheet rock, Building 47 units 103 and 104 sewage
             leaks, Building 48: Unit 106-HVAC system, Unit 112-mold in closet,
             dumpsters and garbage overflow.


Chronology of Events related to lack of hot water

3/30/23     First complaint received regarding lack of hot water building #44
3/30/23     D. Harding spoke to Empire Property Management
                • Confirmed no hot water
                • Reported that Hotpoint was on site to analyze problem and
                    repair/replace as needed
3/30/23     D. Harding sent email to Empire Property Management confirming
            conversation and requesting updates
3/30/23     additional tenant complaints received via phone and email-some indicating
            that this was not first occurrence but FVHD not previously engaged
3/30-4/4/23 regular communication with Brett and Empire regarding actions on site to
            restore hot water, complaints continue but property management assures
            us that they are doing everything they can to assess and fix the problem.
4/5/23      Reported that hot water was restored although some reports that it was luke
            warm. D. Harding and S. Johnson make site visit. Water temperatures
            documented between 112-116 in units 107 and 308 as well as first and
            second floor laundry rooms.
4/5/23      Case Closed


7/9/23       Complaint receive indicating no hot water again in building #44
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7/10/23     D. Harding attempted to get an update on the situation from property
            management-no response
7/11/23     D. Harding sends another email requesting immediate update on hot water
            repair
7/11/23     extensive back and forth between D. Harding and Empire regarding owner
            information, who can authorize repairs, plans to restore hot water
7/11/23     Empire hires Taylor Energy, they report that boiler is too small for unit
            demands, lowered water pressure as short term remedy, new boiler quotes
            being requested
7/11/23     D. Harding asks about written orders-J.Kertanis does not issue order as
            remedy is moving forward. J. Kertanis speaks to Brett and requests that he
            offer relocation to anyone who requests given we are going on day 3 and
            timeline for full restoration is not clear
7/9-7/12    a few residents continue to update FVHD on lack of hot water, FVHD
            requests that Empire keep residents apprised of all actions, timelines and
            offer to relocate. D. Harding sent text indicating that Management must
            offer relocation to tenants affected. Brett responded that relocation of
            tenants could occur at Avon Place LLC expense
7/12/23     D. Harding received email from Empire indicating that Taylor Energy has
            found a part that should “fix” situation either later today or tomorrow
            D. Harding had email exchange with Taylor Energy directly regarding time
            frame for repair
7/13/23     Complaints that water is only luke warm, FVHD requests that Empire follow
            up with residents to determine if they have hot water and/or to offer
            relocation
7/14/23     FVHD receiving mixed messages, Empire reporting part installed and water
            heating up, some residents still reporting luke warm water.
7/14/23     4:30 pm water temp documented at 105 degrees
7/14-7/20   Temporary solution provides intermittent and inconsistent hot water,
            complaints continue and FVHD continues to emphasize relocation, Brett
            insists they have offered relocation but people don’t like options, tenants
            report that they were never offered relocation. FVHD cc’d on some back
            and forth with tenants and property management regarding relocation and
            showers at community building. A major part of the new system was stolen
            from unlocked boiler room the evening all work was completed, resulting in
            no hot water again. Part was replaced. Recommended lockable doors,
            cameras in this area
7/20/23     3 new hot water tanks on line as of 2:45 pm
7/20/23     Case Closed


7/25/23     FVHD issued order regarding the water damage in basement, mold in
            common area,…
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7/31/23      No hot water complaints received again
7/31/23      S. Johnson and M. Arnold conduct site visit—garbage build up, mold and
             other issues were part of complaint as was reporting of on and off hot water
7/31/23      S. Johnson followed up with Brett regarding the hot water, he reported that
             lack of hot water was associated with power outages the night before.
             Taylor Energy had come out to reset the units and it should not occur again.
8/04-8/28/23 Multiple communications (email, text, phone calls) between S. Johnson and
             B. Hurst regarding NOV and other complaints

8/17/2023    Meeting at Avon Town Hall with Town Manager, Social Services Director,
             Building Inspector, Fire Marshall and FVHD

10/05/23     On-site meeting with FVHD staff (D. Harding, P. Gigliotti and S. Johnson),
             Fire Marshal, Building Inspector, Albert (Avon Place Facilities staff) and B.
             Hurst
10-10-23     FVHD memo to Brett itemizes conditions witnessed on 10-5-23, discussions
             and information requests


10/22/23     More complaints regarding lack of hot water
10/22-11/9   Ongoing emails, texts from tenants complaining about ongoing hot water
             issue, some report periodic hot water but not consistent
10/31/23     Property Management reports hot water restored with temporary fix
10/31/23     D. Harding and P. Gigliotti make site visit at 1 PM and confirm hot water in
             units 102 and 313 Property management reports that there is problem with
             old heat exchanger and whole unit needs to be replaced. D. Harding
             provided update to Michelle Traub

11/1/23      Property Management provides FVHD with copy of proposal for new boiler
             and install
11/1/23      J. Kertanis places call to Atty. Ben Potak, listed as “agent” expressing
             frustration with situation, lack of communication from owner, intention to
             issue orders and request for any assistance in communicating with Mr.
             Ahron. Atty Potak sympathetic to our issues, indicated that he had nothing
             to do with the property other than manage the transfer said he would see if
             he could reach Mr. Ahron—nothing came of this.
11/1/23      Complaints again regarding no consistent hot water and no communication
             from property management
11/1/23      D/Harding sends very pointed text to Brett regarding ongoing issues, lack
             of communication and need for permanent repair. Also asked to speak to
             Ahron who is listed as owner and has been completely unresponsive
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11/1/23      FVHD provides Michelle with information regarding 47a-13 and tenant
             rights as they continue to report that Empire is not providing relocation
             options
11/2/23      Back and forth texts with Brett regarding temporary fix of replacing wires
             that were shorting and reports that hot water was back up and running and
             that Brett will have his team on site to address ongoing issues
11/2/23      tenants reporting they are not getting communications from Empire, D.
             Harding texts Brett asking that they double check their communication
             system to ensure everyone is getting correspondence
11/2/23      Taylor Energy indicates that new boiler is required and is on order
11/3/23      FVHD issues orders
11/3/23      J. Kertanis has very pointed conversation with Brett emphasizes the
             requirements of the order including relocation, requests that he speak to Mr.
             Ahron and have him call FVHD, reiterated lack of communication both to
             tenants and FVHD. He indicated that boiler replacement would take place
             on 11/8 with full restoration of hot water
11/3-11/8    ongoing emails and texts regarding lack of hot water


FIRE INSPECTIONS


7/2024       Numerous site visits made to inspect units for reoccupancy



Miscellaneous Complaints:

6-21-23 Bldg 47 unit 103 & 104 sewage backup
6-29-23 Bldg 48 leak/mold
7-19-23 Bldg 44 water in basement/mold
8- 8-23 Bldg 48 Unit 106 water on ceiling/mold
8-17-23 Bldg 48 Unit 112 mold
1-16-24 Bldg 48 Unit 313 vermin
2-20-24 Bldg 48 Unit 303 no heat
3-25-24 Bldg 47 trash/garbage overflow
6-27-24 Bldg 47 Unit 305 mold from leak above kitchen
7-15-24 Bldg 48 Unit 101 mold
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7-31-24 Bldg 48 Unit 301 mold
8-22-24 Bldg 48 Unit 303 mold
8-29-24 Bldg 48 Unit 215 mold
9-2-24 Bldg 48 trash/garbage
10-4-24 Bldg 48 unit 311no hot water/heat
1-4-24 Bldg 48 unit 112 no heat/hot water
10-7-24 Bldg 48 Unit 301 no heat
12-10-24 Bldg 48 unit 120 no heat
12-16-24 Bldg 44 unit 104 no heat in foyer/hallway
